Case 2:10-cv-00069-DBH Document 51 Filed 06/03/10 Page 1 of 2                        PageID #: 415



                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE

                                        )
RICHARD SCHONINGER, a Citizen of New    )
York,                                   )
                                        )
                     Plaintiff,         )
                                        )                   Civil Action No.: CV-10-69-P-H
v.                                      )
                                        )
M/V THREE OLIVES, O.N. 1168540, in rem, )
IRA J. SHAPIRO, in personam, and        )
MARC JACOBS, in personam,               )
                                        )
                     Defendants,        )
                                        )
and                                     )
                                        )
LYMAN MORSE BOATBUILDING CO., INC., )
a Maine Corporation,                    )
                                        )
                     Party-In-Interest

                                                ORDER

            Upon motion for an Order directing sale of the M/V Three Olives by Plaintiff Richard

Schoninger, and summary judgment having been granted against both in personam Defendants

and against the vessel M/V Three Olives, it is hereby ORDERED:

            1.     The United States Marshal be and is hereby directed and empowered to sell the

M/V Three Olives free and clear of all liens and encumbrances at public sale, conducted in a

commercially reasonable fashion, after Plaintiff has caused notice of said sale to be published in

the Portland Press Herald in accordance with the ordinary procedures of the Marshal’s office for

conducting such sales;

            2.     The United States Marshal shall deposit the proceeds of said sale with the Clerk

of the Court pending further orders of this Court; and




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Case 2:10-cv-00069-DBH Document 51 Filed 06/03/10 Page 2 of 2                          PageID #: 416



            3.    After said sale, Plaintiff Richard Schoninger shall issue a report of sale, setting

forth the circumstances of the sale and the amount received. After confirmation of the sale by

the Court, the Court will proceed to determine the relative priority of claims against the vessel,

order distribution of the funds in accordance with the determination of priority, and assess a

deficiency, if any, against the in personam Defendants in favor of the Plaintiff and/or claimant,

as appropriate.



Dated: June 3, 2010



                                                         /s/ D. Brock Hornby
                                                         D. Brock Hornby
                                                         U.S. District Judge




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